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 6                                UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8    ARISTOCRAT TECHNOLOGIES, INC., a                        2:07-CV-01033-BES-LRL
      Nevada Corporation; and ARISTOCRAT
 9    TECHNOLOGIES AUSTRALIA PTY
      LIMITED LTD., an Australian corporation,                ORDER
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                           Plaintiffs,
11
      v.
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      HIGH IMPACT DESIGN &
13    ENTERTAINMENT, a Nevada corporation;
      WILLIAM RANDAL ADAMS, an individual;
14    RAFAEL ACOSTA, an individual; HIGH
      IMPACT DESIGN AND ENTERTAINMENT,
15    S.A., a Venezuelan Corporation ,
16                         Defendants.
17
             Before the Court is Defendant High Impact Design and Entertainment, S.A.’s (“HIDE
18
      Venezuela”) Motion to Set Aside Default (#19) filed June 23, 2008. Plaintiffs Aristocrat
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      Technologies, Inc. (“ATI”) and Aristocrat Technologies Australia (“ATA”) (collectively
20
      “Plaintiffs”) filed their Opposition to Defendant’s Motion to Set Aside Default (#20) on July 11,
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      2008. HIDE Venezuela filed its Reply to Opposition to Motion to Set Aside Default and
22
      Dismiss (#21) on July 24, 2008.
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             After the Motion to Set Aside Default was fully briefed, Plaintiffs filed an Amended
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      Complaint (#24) on August 18, 2008, naming as defendants HIDE Venezuela, High Impact
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      Design & Entertainment of Nevada (“HIDE Nevada”), William Randall Adams (“Adams”) and
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      Rafael Acosta (“Acosta”) (collectively “Defendants”). Defendant HIDE Venezuela filed a
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      Motion to Dismiss Amended Complaint (#25) on August 22, 2008. Plaintiffs filed their
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 1    Opposition to HIDE Venezuela’s Motion to Dismiss Amended Complaint (#27) on September
 2    9, 2008. HIDE Venezuela filed its Reply to Opposition to Motion to Dismiss Amended
 3    Complaint (#28) on September 23, 2008. The Court held a hearing on both of these matters
 4    on February 6, 2009.
 5                                        I. BACKGROUND
 6         This matter arises out of sale of gaming machines and the allegedly unauthorized
 7 registration of the Aristocrat trademark in Venezuela. Plaintiffs are manufacturers, licensors,
 8 and worldwide distributors of electronic gaming machines. (Plaintiff’s Opp’n (#20) 1). Plaintiffs
 9 own trademark rights and registrations in the Aristocrat word mark and the Aristocrat design
10 mark in the United States and other jurisdictions throughout the world. (Am. Compl. (#24) ¶19).
11 On or about December 11, 2000, HIDE Nevada agreed to purchase various electronic gaming
12 machines from ATI. Id. ¶20. Over the course of the next two years, the parties entered into
13 several agreements under which HIDE Nevada agreed to lease and purchase ATI’s gaming
14 machines for placement in various locations in Venezuela. Id. ¶¶21-23. The agreements
15 allegedly included provisions stating that ATI retained all rights, title and interest in its
16 trademarks, and HIDE Nevada had no such rights. Id.
17         On or about June 5, 2003, without Plaintiffs’ knowledge or consent, Defendants applied
18 for registration of Aristocrat’s design mark and trade name in Venezuela. Id. ¶26. Plaintiffs
19 believe that HIDE Nevada, Acosta, and/or Adams own, control and/or direct HIDE Venezuela.
20 Id. ¶25. Plaintiffs allegedly demanded that HIDE Venezuela withdraw the application, but
21 Acosta explained that HIDE Venezuela would assign the trademark and logo to Plaintiffs, and
22 that it would be a mistake to withdraw the filing because it would cost the parties time and
23 money. Id. ¶28. Allegedly in reliance on these representations, Plaintiffs did not take any
24 action to oppose HIDE Venezuela’s application to register the Aristocrat name and trademark
25 in Venezuela and the trademark and trade name registration was granted to HIDE Venezuela.
26 Id. ¶29-30.
27         After the registration in Venezuela, Plaintiffs requested that the Defendants assign the
28 Aristocrat trademark and trade name to them, but Defendants have never done so. Id. ¶31.

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 1 Plaintiffs also allege that HIDE Venezuela asked the Servico Nacional Integrado de
 2 Administracion Tributaria of Venezuela to order Venezuelan customs authorities to restrict the
 3 import of Plaintiffs’ products into Venezuela. Id. ¶32. Additionally, Plaintiffs maintain that
 4 Defendants have continually refused to pay them the money ATI is due under the parties’
 5 various agreements. Id. ¶34.
 6           Plaintiffs filed suit in this Court (#1) against HIDE Venezuela on August 3, 2007 alleging
 7 breach of contract, breach of the implied covenant of good faith and fair dealing, fraud, unjust
 8 enrichment and requesting declaratory relief.1 (Compl. (#1) ¶¶24-47). Plaintiffs then moved
 9 for a request for international judicial assistance so that they could obtain assistance from the
10 Venezuelan government in serving the complaint upon HIDE in Venezuela. (Plaintiff’s Opp’n
11 (#20) 2). The Court granted this motion, and HIDE Venezuela was served with a copy of the
12 summons and complaint on February 12, 2008. (Fountain Decl. (#14) 3). HIDE Venezuela
13 failed to respond to the complaint, and on May 27, 2008, the Clerk of the Court entered default
14 against HIDE Venezuela. (Plaintiff’s Opp’n (#20) 2). HIDE Venezuela filed its Motion to Set
15 Aside the default on June 23, 2008, arguing that it was never properly served, and that it had
16 a meritorious defense because the Court lacks subject matter jurisdiction. (Def’s Mot. (#19)
17 1-6). While this motion was still pending, Plaintiffs filed a First Amended Complaint renaming
18 HIDE Venezuela, and adding HIDE Nevada, Randall and Adams. (Am. Compl. (#24) 1).
19                                                   II. DISCUSSION
20    A. Motion to Set Aside Entry of Judgment
21            HIDE Venezuela argues that the entry of default should be set aside because it was
22    never properly served and because it has a meritorious defense. (Def’s Mot. (#19) 3-6). HIDE
23    also asks the Court to dismiss the original complaint for lack of subject matter jurisdiction. Id.
24    at 4-5. Plaintiffs argue that HIDE Venezuela was properly served and that there is no good
25    cause to set aside the entry of default. (Plaintiff’s Opp’n (#20) 5). Plaintiffs further admit that
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                Plaintiffs’ assertion with regard to jurisdiction was based on 28 U.S.C. §1332 (diversity). (Com pl. (#1)
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      ¶1). Defendants correctly argued in their Motion to Set Aside that diversity jurisdiction was not present because
      diversity jurisdiction does not encom pass foreign plaintiffs suing foreign defendants. See Cheng v. Boeing Co.,
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      708 F.2d 1406, 1412 (9th Cir. 1983).

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 1    diversity jurisdiction is not present in this case, but they argue that the Court still has federal
 2    question jurisdiction. Id. at 6.
 3           According to Rule 55 of the Federal Rules of Civil Procedure, “[w]hen a party against
 4    whom a judgment for affirmative relief is sought has failed to plead or otherwise defend, and
 5    that failure is shown by affidavit or otherwise, the clerk must enter the party’s default.” Fed.
 6    R. Civ. P. 55(a). Prior to a default judgment being entered, a default under Rule 55(a) can be
 7    set aside by the district court for “good cause.” Fed. R. Civ. P. 55(c).
 8           “Absent an abuse of discretion, there is no error in setting aside a default where the
 9    judge finds good cause to do so.” Mendoza v. Wight Vineyard Mgmt., 783 F.2d 941, 945 (9th
10    Cir. 1986). “The court’s discretion is especially broad where, as here, it is entry of default that
11    is being set aside, rather than a default judgment.” O’Connor v. State of Nev., 27 F.3d 357,
12    364 (9th Cir. 1994). In general, “[w]here timely relief is sought from a default . . . and the
13    movant has a meritorious defense, doubt, if any, should be resolved in favor of the motion to
14    set aside default so that cases may be decided on the merits.” Id. In determining whether to
15    set aside a default, the “court should consider whether: (1) the plaintiff would be prejudiced
16    by setting aside the default; (2) the defendant has a meritorious defense; and (3) the
17    defendant’s culpable conduct led to the default.” Id. (citing Falk v. Allen, 739 F.2d 461, 463
18    (9th Cir. 1984)).
19           In this matter, several factors must be weighed in the Court’s consideration of whether
20    to set aside the default entered against HIDE Venezuela. First, the Court must determine
21    whether Plaintiffs would be prejudiced by an order setting aside the default. “Prejudice exists
22    if circumstances have changed since entry of the default such that [a] plaintiff’s ability to
23    litigate its claim is not impaired in some material way or if relevant evidence has become lost
24    or unavailable.” Accu-Weather, Inc. v. Reuters Ltd., 779 F.Supp. 801, 802 (M.D. Pa. 1991).
25    Notably, “[d]etriment in the sense that plaintiff will be required to establish the merit of its claim
26    does not constitute prejudice in this context.” Id. In this case, Plaintiffs will not be prejudiced
27    by an order setting aside the entry of default. There is no contention by Plaintiffs that evidence
28    has been lost or has become unavailable. In addition, Plaintiffs have not provided any

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 1    evidence that something has occurred since entry of the default which will hinder its ability to
 2    litigate the case. Rather, Plaintiffs will have to establish the merits of their claims against the
 3    Defendants. Additionally, Plaintiffs have essentially waived their opposition to this Motion to
 4    Set Aside by filing an amended complaint against the original defendant, among others. The
 5    filing of the amended complaint essentially moots Plaintiffs’ opposition to the Motion to Set
 6    Aside, as they have implicitly acknowledged that the case against HIDE Venezuela should
 7    proceed to the merits. Furthermore, Plaintiffs conceded during the hearing that it would be
 8    appropriate to set aside the default given their amended complaint.
 9           Second, the Court must determine if HIDE Venezuela has a meritorious defense. “A
10    meritorious defense is one which, if proven at trial, will bar plaintiff’s recovery.” Id. “The
11    defendant is not required to prove beyond the shadow of a doubt that it will win at trial, but
12    merely to show that it has a defense to the action which at least has merit on its face.” Id. In
13    this case, HIDE Venezuela argues that it has a meritorious defense because it performed
14    under the terms of the agreements. (Def’s Mot. (#19) 3). HIDE Venezuela further argues that
15    this Court lacks subject matter jurisdiction because diversity is lacking, and because this case
16    deals with a Venezuelan trademark and does not substantially effect U.S. commerce for
17    jurisdictional purposes. Id. at 4-5. While the Court will not decide the merits of these defenses
18    here, these defenses at least have merits on their face and, if proven at trial, would bar
19    Plaintiffs’ recovery in this matter. Therefore, the second factor also weighs in favor of setting
20    aside the default.
21           Finally, the Court must determine if HIDE Venezuela’s culpable conduct led to the
22    default. “A defendant’s motion to set aside a default should not be granted if the defendant
23    exhibited some degree of culpable conduct in failing to respond to pleadings.” Accu-Weather,
24    Inc., 779 F.Supp. at 804.      “[A] defendant’s conduct [is] culpable . . . where there is no
25    explanation of the default inconsistent with a devious, deliberate, willful, or bad faith failure to
26    respond.” Employee Painters’ Trust v. Ethan Enter., Inc., 480 F.3d 993, 1002 (9th Cir. 2007).
27    In this case, HIDE Venezuela claims that it was not properly served with the original summons
28    and complaint, and therefore it did not become aware of the lawsuit until the notice of default

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 1    was brought to the correct office location in Venezuela. (Def’s Mot. (#19) 2). Given the
 2    potential for difficulty and confusion in serving a defendant in a foreign country and HIDE
 3    Venezuela’s promptness in filing its motion to set aside, this Court finds no evidence of a
 4    “devious, deliberate, willful, or bad faith failure to respond.” As such, the third factor also
 5    weights in favor of granting the motion to set aside.
 6            Based on the foregoing, the Court, in its discretion, will set aside the default entered
 7    against HIDE Venezuela. Because Plaintiffs will suffer no prejudice, the case should be
 8    determined on its merits.
 9    B. Motion to Dismiss Amended Complaint
10            In considering a motion to dismiss for failure to state a claim under Fed. R. Civ. P.
11    12(b)(6), the court must accept as true all material allegations in the complaint as well as all
12    reasonable inferences that may be drawn from such allegations. LSO, Ltd. v. Stroh, 205 F.3d
13    1146, 1150 (9th Cir. 2000). The allegations of the complaint also must be construed in the
14    light most favorable to the nonmoving party. Shwarz v. United States, 234 F.3d 428, 435 (9th
15    Cir. 2000). The purpose of a motion to dismiss under Rule 12(b)(6) is to test the legal
16    sufficiency of the complaint. Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001). However,
17    there is a strong presumption against dismissing an action for failure to state a claim. See
18    Gilligan v. Jamco Dev. Corp., 108 F.3d 246, 249 (9th Cir. 1997) (citation omitted). A plaintiff
19    must make sufficient factual allegations to establish a plausible entitlement to relief. Bell
20    Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1965 (2007).
21            In its Motion to Dismiss, HIDE Venezuela argues that this Court lacks subject matter
22    jurisdiction because Plaintiffs’ only federal claims are under the Lanham Act, which does not
23    apply to acts which occurred in foreign countries and have no effect on American commerce.2
24    (Def’s Mot. (#25) 2-3). Defendants further argued at the hearing that Plaintiffs’ claims were
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              HIDE Venezuela also argues that Plaintiffs cannot am end their com plaint to cure any jurisdictional defects
      “when the court has no jurisdiction to start with.” (Def’s Mot. (#25) 2). However, this argum ent is without m erit.
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      Under FRCP 15(a), a party m ay am end its pleading once as a m atter of course before being served with a
      responsive pleading. Am endm ent to cure defective jurisdictional allegations is allowed. Metzger v. Hussm an, 682
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      F.Supp. 1109, 1111 (D.Nev. 1988).

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 1    in essence contract claims, and Plaintiffs were not entitled to relief under the Lanham Act.
 2    Plaintiffs argue that this Court does have jurisdiction over the matter because they own a U.S.
 3    trademark for the Aristocrat name and design and its infringement in Venezuela has effected
 4    American foreign commerce. (Plaintiff’s Opp’n (#27) 7).
 5            In its Amended Complaint, Plaintiffs allege two federal claims under the Lanham Act,
 6    one for trademark infringement under 15 U.S.C. §1114 and one for unfair competition under
 7    15 U.S.C. §1125(a). (Am. Compl. (#24) 7-8). Plaintiffs allege that this Court has jurisdiction
 8    pursuant to 28 U.S.C. §§1331 and 1338(a).3 Id. ¶1. In order to state a claim for relief under
 9    the Lanham Act for unfair competition and trademark infringement, the plaintiff must allege:
10    (1) a valid trademark and (2) likelihood of confusion from the defendant’s use of the mark.
11    Levi Strauss & Co. v. Blue Bell, Inc., 778 F.2d 1352, 1354 (9th Cir. 1985). The Court finds that
12    Plaintiffs have properly alleged that they have a valid U.S. trademark, and that the Defendants’
13    use of the Aristocrat trademark is likely to cause confusion. (Am. Compl. (#24) ¶¶19, 38, 48).
14    Therefore, the only remaining issue in Defendants’ Motion to Dismiss is whether this Court has
15    jurisdiction to apply the Lanham Act extraterritorially.4
16            The purpose of the Lanham Act is to “regulate commerce within the control of Congress
17    by making actionable the deceptive and misleading use of marks in such commerce...to
18    protect persons engaged in such commerce against unfair competition, to prevent fraud and
19    deception in such commerce by the use of reproductions, copies, counterfeits, or colorable
20    imitations of registered marks.” 15 U.S.C. §1127. In this case, Plaintiffs registered the
21    Aristocrat trademark and trade name with the U.S. Patent and Trademark Office and were
22    thus protected from infringement under the Lanham Act. (Am Compl. (#24) ¶19).                                    In
23    interpreting the jurisdictional scope of the Lanham Act, the Supreme Court has stated that the
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25            3
              Under 28 U.S.C. §1338, district courts have “original jurisdiction of any civil action arising under any Act
      of Congress relating to patents, plant variety protection, copyrights and tradem arks.”
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              4
                Defendants argued at the hearing that Plaintiffs’ allegations in support of the Lanham Act claim s were
27
      insufficient because they were not supported by affidavit. On the contrary, the allegations of a com plaint need not
      be supported by affidavit because the Court accepts as true all m aterial allegations of the com plaint. LSO, Ltd.,
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      205 F.3d at 1150.

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 1    Act provides a “broad jurisdictional grant” that extends to “all commerce which may be lawfully
 2    regulated by Congress.” Steele v. Bulova Watch Co., 344 U.S. 280, 283 (1952). Additionally,
 3    the Supreme Court has stated that Congress has the power to prevent unfair trade practices
 4    in foreign commerce by citizens of the United States, although some of the acts are done
 5    outside the territorial limits of the United States. Id. at 286.
 6           The Ninth Circuit has held that the Lanham Act’s coverage of foreign activities may by
 7    analyzed under the test for extraterritorial application of the federal antitrust laws set forth in
 8    Timberlane Lumber Co. v. Bank of America National Trust & Savings Ass’n, 549 F.2d 597 (9th
 9    Cir. 1976). Star-Kist Foods, Inc. v. P.J. Rhodes & Co., 769 F.2d 1393, 1395 (9th Cir. 1985).
10    The Ninth Circuit has identified three criteria that must be satisfied to apply the Lanham Act
11    extraterritorially: first, the alleged violations must create some effect on American foreign
12    commerce; second, the effect must be sufficiently great to present a cognizable injury to
13    plaintiffs under the federal statute; and third, the interests of and links to American foreign
14    commerce must be sufficiently strong in relation to those of other nations to justify an assertion
15    of extraterritorial authority. Id.
16           1. Effect on American Foreign Commerce
17           As to the first criterion, the sales of infringing goods in a foreign country may have a
18    sufficient effect on American foreign commerce to invoke Lanham Act jurisdiction. Reebok
19    Int’l Ltd. v. Marnatech Ent., Inc., 970 F.2d 552, 553 (9th Cir. 1991). Plaintiffs allege that
20    Defendants have sold counterfeit gaming machines in Venezuela bearing the Aristocrat
21    trademark. (Am. Compl. (#24) ¶37). Plaintiffs also allege that Defendants’ actions have
22    prevented them from importing their gaming machines from the U.S. into Venezuela, and from
23    re-branding any counterfeit machines that are already there, and therefore there is some effect
24    on American foreign commerce. This Court agrees. Accepting the allegations of Plaintiffs’
25    amended complaint as true, the sale of counterfeit Aristocrat machines and the restriction on
26    the importation of U.S. manufactured gaming machines have some effect on American foreign
27    commerce. Therefore the first requirement is satisfied.
28    ///

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 1           2. Cognizable Injury to Plaintiffs under the Federal Statute
 2           The second criterion is also satisfied given that Defendants’ actions have allegedly
 3    prevented Plaintiffs from importing, selling, or licensing its gaming machines in Venezuela, and
 4    have allegedly produced counterfeit gaming machines bearing the Aristocrat name and marks.
 5    The sale and distribution of counterfeit machines in Venezuela would decrease the sales of
 6    genuine gaming machines there and decrease Plaintiffs’ revenue from sales. These harms are
 7    sufficient to present a cognizable injury under the Lanham Act. See Reebok, 970 F.2d at 554-
 8    55 (holding sale of counterfeit shoes in Mexico caused injury to American manufacturer that
 9    was cognizable under Lanham Act); Star-Kist, 769 F.2d at 1395 (holding sale of canned fish
10    in the Philippines under labels with Plaintiff’s trademarks caused injury to Plaintiff that was
11    cognizable under the Lanham Act).
12           3. Interests of and Links to American Commerce vs. Those of Other Nations
13           The third requirement, that the interests of and links to American foreign commerce be
14    sufficiently strong in relation to those of other nations to justify extraterritorial application of the
15    Lanham Act, involves the balancing of seven relevant factors: (1) the degree of conflict with
16    foreign law or policy, (2) the nationality or allegiance of the parties and the locations and
17    principal places of business of corporations, (3) the extent to which enforcement by either
18    state can be expected to achieve compliance, (4) the relative significance of effects on the
19    United States as compared with those elsewhere, (5) the extent to which there is explicit
20    purpose to harm or affect American commerce, (6) the foreseeability of such effect, and (7)
21    the relative importance to the violations charged of conduct within the United States as
22    compared with conduct abroad. Reebok, 970 F.2d at 555.
23           The first factor in the balancing test involves the degree of conflict with foreign law or
24    policy and weighs against this Court’s exercise of jurisdiction. Specifically, the Ninth Circuit
25    has held the existence of a conflict with a foreign trademark registration weighs against
26    extraterritorial application of the Lanham Act. Wells Fargo & Co. v. Wells Fargo Express &
27    Co., 556 F.2d 406, 428-29 (9th Cir. 1976). Similarly in this case, the Venezuelan government
28    has already registered the Aristocrat trademark and trade name to HIDE Venezuela, and

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 1    therefore Venezuela has the right to adjudicate the use of that trademark within its borders.
 2    Because the Aristocrat trademark has already been registered to HIDE in Venezuela and there
 3    is a high potential for conflict if American authority were asserted to resolve the dispute over
 4    the Venezuelan trademark, the first factor weights against extraterritorial application of the
 5    Lanham Act in this case.
 6           The second factor in the balancing test is the nationality or allegiance of the parties and
 7    the locations or principal places of business of the involved corporations. One of the plaintiffs,
 8    ATI, is a Nevada corporation that is a subsidiary of ATA, an Australian corporation. (Plaintiff’s
 9    Opp’n (#27) 9). Both of these parties have substantial contacts with the United States. As to
10    the defendants, HIDE, Venezuela is a Venezuela corporation whose principal place of
11    business appears to be Venezuela, HIDE Nevada is allegedly a Nevada corporation, and
12    Adams and Acosta are also allegedly Nevada residents and principals of both HIDE
13    corporations. Id. Because all but one of the parties have significant contacts to the United
14    States, the second factor weighs in favor of extraterritorial application of the Lanham Act.
15           The third factor, the extent to which enforcement by either state can be expected to
16    achieve compliance, weighs in favor of extraterritorial application. The Ninth Circuit held in
17    Reebok that even where a foreign state could enforce its own or U.S. trademark laws, where
18    “each of the defendants, their principal places of business, and the vast majority of their assets
19    are located in the United States,” the United States has the superior ability to enforce.
20    Reebok, 970 F.2d at 557. Additionally, where a U.S. citizen or corporation has “orchestrated
21    the infringing activities,” an injunction against the U.S. citizen would be effective. Ocean
22    Garden v. Marktrade Co. Inc., 953 F.2d 500, 504 (9th Cir. 1991). In this case, Plaintiffs allege
23    in their amended complaint that HIDE Nevada is a U.S. corporation, and that Adams and
24    Acosta are both U.S. citizens and have substantial assets located in the United States. (Am.
25    Compl. (#24) ¶¶9-13). They further argue that, because HIDE Nevada, Adams and Acosta
26    directed HIDE’s activities, an injunction against Adams and Acosta would be effective to
27    achieve compliance from HIDE Nevada and HIDE Venezuela. (Plaintiff’s Opp’n (#27) 9). This
28    Court agrees. Based on the allegations in the amended complaint, HIDE Nevada, Adams and

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 1    Acosta orchestrated the infringing activities in question. (Am.Compl. (#24) ¶¶13, 38, 48).
 2    Even though HIDE Venezuela could continue infringing activities on its own, the extensive
 3    involvement of the U.S. corporation and U.S. citizens indicates that enforcement against them
 4    would achieve compliance.
 5           The fourth factor, the relative significance of effects on the United States as compared
 6    with those elsewhere, also weighs in favor of this Court’s exercise of jurisdiction. Where the
 7    alleged infringement results in losses to a U.S. corporation, this factor tips in favor of
 8    extraterritorial application. Ocean Garden, 953 F.2d at 504. While arguably there is also
 9    some effect on commerce in Venezuela, where the allegedly counterfeit gaming machines
10    have been distributed, the alleged illegal use of the trademarks has affected trade between
11    the U.S. and Venezuela, and has significantly impacted a domestic U.S. corporation.
12    Therefore, the fourth factor also weighs in favor of extraterritorial jurisdiction.
13           As to the fifth and sixth factors, where there is evidence that a defendant’s infringing
14    acts were intentional and the infringement was foreseeable, the Ninth Circuit has found explicit
15    purpose to harm American commerce. See id. In this case, Plaintiffs present some evidence
16    that the Defendants’ infringing acts were intentional. Specifically, it alleges that HIDE falsely
17    represented that it would assign the Venezuelan trademark to ATI after the registration,
18    ultimately refused to assign the trademark and directed Venezuelan authorities to restrict the
19    importation of Plaintiffs’ products into Venezuela. Each of these allegations indicate that the
20    Defendants intentionally obtained the Venezuelan trademark registration in order to prevent
21    Plaintiffs from importing their gaming machines into Venezuela and profit from using the
22    Aristocrat trademark on counterfeit machines. As such, the fifth and sixth factors also weigh
23    in favor of extraterritorial application of the Lanham Act.
24           The final factor of the balancing test, the relative importance to the violations charged
25    of conduct within the United States as compared with conduct abroad, does not clearly support
26    either a decision to exercise territorial jurisdiction or to refrain from doing so. In this case,
27    Defendants’ infringing actions were allegedly directed from the United States. However, actual
28    consumer sales of any counterfeit products would have occurred only in Venezuela. Because

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 1    Plaintiffs’ claims are based both on actions that occurred in the United States and Venezuela,
 2    it is difficult to determine whether actions in either location were more significant to Plaintiffs’
 3    claims than the actions in the other. However, the majority of the other factors clearly weigh
 4    in favor of the exercise of extraterritorial jurisdiction. Accepting the allegations in the amended
 5    complaint as true, this Court can say that the factors in favor of exercising jurisdiction outweigh
 6    the counterbalancing factors, even though this may present some conflict with Venezuelan
 7    law. See Reebok, 970 F.2d at 555 (extraterritorial application of Lanham Act appropriate even
 8    though parties were involved in trademark and copyright litigation in Mexican court). Because
 9    the affirmative requirements under Timberlane have been met, this Court may exercise
10    jurisdiction over Plaintiffs’ claims against the Defendants5 and the Court will deny HIDE
11    Venezuela’s Motion to Dismiss.
12
                                                  III. CONCLUSION
13
              IT IS HEREBY ORDERED that HIDE Venezuela’s Motion to Set Aside Default (#19)
14
      is GRANTED.
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              IT IS FURTHER ORDERED that HIDE Venezuela’s Motion to Dismiss Amended
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      Complaint (#25) is DENIED.
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18            DATED: This 10TH day of February, 2009.
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21                                             UNITED STATES DISTRICT JUDGE
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               The Court also has jurisdiction over Plaintiffs’ rem aining state law claim s under 28 U.S.C. §1367. See
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      Cleary v. News Corp., 30 F.3d 1255, 1257 (9th Cir. 1994).

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